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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

BADAR KHAN SURI,
Petitioner,
Vv.

DONALD TRUMP, in his official capacity
as President of the United States; RUSSELL
HOTT, in his official capacity as Field
Office Director of Washington, Immigration
and Customs Enforcement; JEFFREY
CRAWFORD, in his official capacity as
Warden of Farmville Detention Center;
TODD LYONS, Acting Director, U.S.
Immigration and Customs Enforcement;
KRISTI NOEM, in her official capacity as
Secretary of the United States Department of
Homeland Security, MARCO RUBIO, in his
official capacity as Secretary of State;
PAMELA BONDI, in her official capacity
as Attorney General, U.S. Department of
Justice,

Case No. 1:25-cv-480 (PTG/WBP)

Respondents.

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ORDER
This matter comes before the Court on Petitioner Badar Khan Suri’s Motion to Compel
Respondents to Return Petitioner to this District (Dkt. 5), Petitioner’s Motion for Release on Bond
(Dkt. 20), and Respondents’ Motions to Dismiss or in the Alternative, to Transfer Venue (Dkts.
24, 25) (collectively, “Motions”). On May 1, 2025, the Court held a hearing on the Motions.

Accordingly, and as stated from the bench, it is hereby
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ORDERED that Respondents are DIRECTED to submit a supplemental filing addressing
the questions the Court raised at the hearing no later than 5:00 p.m. on May 2, 2025; and it is
further

ORDERED that Petitioner may file any response to the supplemental filing no later than

5:00 p.m. on May 3, 2025.

Entered this 1st day of May, 2025 Patr cla Totfver Giles
Alexandria, Virginia United States District Judge
